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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In Re: VIOXX

MDL Docket NO. 1657
PRODUCTS LIABILITY LITIGATION

SECTION L

This document relates to ALL CASES : JUDGE FALLON
: MAG. JUDGE KNOWLES

THE PLAINTIFFS’ STEERING COMMITTEE’S REPLY IN SUPPORT OF MOTION
TO COMPEL THE RETURN OF ATTORNEY WORK PRODUCT

Although Merck correctly argues the majority position recognizes that materials are
discoverable when they are intentionally provided to a testifying expert, Merck’s argument
regarding the inadvertent disclosure of materials to testifying experts is inconsistent with Fifth
Circuit precedent, which requires courts to employ a balancing test whenever materials are
inadvertently disclosed. See Alldread v. City of Grenada, 988 F.2d 1425 (5" Cir. 1993) (establishing
that balancing test should be applied when materials have been inadvertently produced). Merck’s
position is also inconsistent with the Advisory Committee Notes to Rule 26(a)(2)(B), which explain
that materials are discoverable when a party “furnished [such materials] to their experts to be used
in forming their opinions.” Materials that are inadvertently disclosed are not furnished to assist an
expert in the formulation of his or her opinion.

This Court should follow Simon Property Group L.P. v. mySimon, Inc., 194 F.R.D. 644
(S.D.Indiana 2000), which sets forth an excellent framework for evaluating the effect of an
inadvertent production to a testifying expert. The facts of Simon are not only on point with those

surrounding the inadvertent disclosure to Drs. Moye and Plunkett, but the balancing test

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implemented by the court therein is derived directly from Alldread. In contrast, Merck has failed
to cite any reliable authority supporting its position that an inadvertent production to a testifying
expert results in an automatic waiver of the work-product privilege. For instance, although Merck
cites Bitler Investment Venture II, LLC v. Marathon Ashland Petroleum, LLC., 2007 WL 465444
(N.D.Ind 2007), and U.S. Energy Corp. V. Nukem, Inc., 163 F.R.D. 344 (D.Col. 1995), in support
of this proposition, neither case involved an inadvertent production to a testifying expert. See Bitler,
2007 WL 465444, *5 (distinguishing Simon where disclosure to the testifying expert was
intentional); Nukem, 163 F.R.D. at 348 (involving a subpoena for the notes of an expert witness that
were taken during a meeting with counsel).' This Court would be far better served by following on
point authority such as Alldread and Simon.

It should also be noted that if this Court denies the PSC’s motion to compel, such a ruling
would be inconsistent with the recent Order of the Honorable Randy Wilson, wherein Judge Wilson
precluded Merck from using the Agenda in any court proceeding and/or in the deposition of any
witness for purposes of the Texas State Vioxx Litigation. See In re Texas State Vioxx Litigation,
Cause No. 2005-59499 (157" Dist. Ct., Harris County, Tex. March 26, 2007), attached hereto as

Exhibit “A”. At the very least this Court should preclude Merck from any use of the inadvertently

' Merck’s reliance on Boring v. Keller, 97 F.R.D. 404 (D.Col. 1983), is misplaced. First,
although the case involved an inadvertent disclosure to a testifying expert, the case predates the
1993 amendment to Rule 26. Second, even this case recognized that a work-product waiver with
regard to a testifying expert is not automatic, as is argued by Merck in its opposition. Jd. at 407
(“[t]his exception standing by itself does not automatically waive the privilege in the situation
where "opinion" work product is provided to an expert witness to consider, and discovery of that
work product is desired.”). That is, although the court in Boring ordered the disclosure of the
work-product materials, the disclosure was for the limited purpose of impeaching the expert who
had been provided such materials. In contrast, Merck has sought to use the materials to cross
examine Dr. Farquhar notwithstanding the complete absence of any evidence suggesting the
materials were ever provided to him.
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produced materials in this litigation so as to avoid friction with the Texas State Vioxx Litigation.
This concern is especially compelling since the inadvertent disclosure occurred in connection with
the Texas State Vioxx Litigation.

Notwithstanding Judge Wilson’s reluctance to compel the return of the Agenda, the facts
surrounding the inadvertent disclosure in this case warrant that Merck be ordered to return and/or
destroy the Agenda for the reasons set forth in the PSC’s opening memorandum. Additionally, from
the transcript of the proceeding before Judge Wilson, which was provided to this Court along with
plaintiffs opening memorandum, it is evident that Judge Wilson was reluctant to compel the
destruction and/or return of the Agenda because he was concerned about his authority to do so in
light of the MDL. Whether or not Judge Wilson’s concerns are justified, this Court has jurisdiction
over Merck and can issue such an order consistent with its jurisdiction over the defendant. So long
as Merck has the Agenda in its possession, there is a very real danger that Merck will inadvertently
provide copies to third-parties.

For the reasons set forth above, the PSC respectfully requests that this Court compel Merck
to return and/or destroy the Agenda. Alternatively, the PSC requests that Merck be precluded from
using the Agenda in any capacity.

PLAINTIFFS’ STEERING COMMITTEE

Dated: April 11, 2007

By:/s/ Leonard A. Davis
Russ M. Herman (Bar No. 6819)
Leonard A. Davis (Bar No. 14190)
Stephen J. Herman (Bar No. 23129)
Herman, Herman, Katz & Cotlar, L.L.P.
820 O'Keefe Avenue
‘New Orleans, Louisiana 70113
Telephone: (504) 581-4892

Facsimile: (504) 561-6024
PLAINTIFFS’ LIAISON COUNSEL

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Andy D. Birchfield, Jr., Esquire
BEASLEY, ALLEN, CROW, METHVIN,
PorTIS & MILES, P.C.

P.O. Box 4160

234 Commerce Street

Montgomery, AL 36103-4160
(800) 898-2034 (telephone)

(334) 954-7555 (telecopier)
Co-Lead Counsel

Richard J. Arsenault, Esquire

NEBLETT, BEARD & ARSENAULT

2220 Bonaventure Court, P.O. Box 1190
Alexandria, LA 71301-1190

(318) 487-9874 (telephone)

(318) 561-2591 (telecopier)

Christopher A. Seeger, Esquire
SEEGER WEISS

One William Street

New York, NY 10004

(212) 584-0700 (telephone)
(212) 584-0799 (telecopier)
Co-Lead Counsel

Gerald E. Meunier, Esquire

GAINSBURGH, BENJAMIN, DAVID,
MEUNIER & WARSHAUER, L.L.C.

Energy Centre ,
1100 Poydras Street, Ste. 2800

New Orleans, LA 70163

(504) 522-2304 (telephone)

(504) 528-9973 (fax)

Troy Rafferty, Esquire

LEVIN, PAPANTONIO, THOMAS, MITCHELL,
ECHSNER & PROCTOR, PA

316 S. Baylen Street, Suite 400

Pensacola, FL 32502

(850) 435-7000 (telephone)

(850) 497-7059 (telecopier)

Elizabeth J. Cabraser, Esquire
Donald C. Arbitblit, Esquire
LIEFF, CABRASER, HEIMANN &
BERNSTEIN, LLP
Embarcadero Center West
275 Battery Street, 30" Floor
San Francisco, CA 94111
(415) 956-1000 (telephone)
(415) 956-1008 (telecopier)

Thomas R. Kline, Esquire
KLINE & SPECTER, P.C.
1525 Locust Street

19" Floor

Philadelphia, PA 19102
(215) 772-1000 (telephone)
(215) 772-1371 (telecopier)

Arnold Levin, Esquire (on brief)

Fred S. Longer, Esquire (on brief)
Matthew C. Gaughan, Esquire (on brief)
LEVIN, FISHBEIN, SEDRAN & BERMAN
510 Walnut Street, Suite 500
Philadelphia, PA 19106

(215) 592-1500 (telephone)

(215) 592-4663 (telecopier)

Shelly A. Sanford, Esquire
GOFORTH, LEWIS, SANFORD LLP
2200 Texaco Heritage Plaza
1111 Bagby

Houston, TX .77002

(713) 650-0022 (telephone)
(713) 650-1669 (telecopier)

Drew Ranier, Esquire

RANIER, GAYLE & ELLIOT, L.L.C.
1419 Ryan Street

Lake Charles, LA 70601
(337)494-7171 (telephone)

(337) 494-7218 (telecopier)
Case 2:05-md-01657-EEF-DEK Document 10740-2 Filed 04/11/07 Page 5of5

Mark Robinson, Esquire Christopher V. Tisi, Esquire
ROBINSON, CALCAGNIE & ROBINSON ASHCRAFT & GEREL

620 Newport Center Drive 2000 L Street, N.W., Suite 400
7° Floor Washington, DC 20036-4914
Newport Beach, CA 92660 (202) 783-6400 (telephone)
(949) 720-1288 (telephone) (307) 733-0028 (telecopier)

(949) 720-1292 (telecopier)

CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing has been served on Liaison Counsel, Phillip
Wittmann, by U.S. Mail and e-mail or by hand delivery and e-mail and upon all parties by
electronically uploading the same to LexisNexis File & Serve Advanced in accordance with Pretrial
Order No. 8(B), and that the foregoing was electronically filed with the Clerk of Court of the United
States District Court for the Eastern District of Louisiana by using the CM/ECF system which will
send a Notice of Electronic Filing in accord with the procedures established in MDL 1657 on this
11" of April, 2007.

/s/ Leonard A. Davis

Leonard A. Davis (Bar No. 14190)
Herman, Herman, Katz & Cotlar, LLP
820 O'Keefe Avenue

New Orleans, LA 70113

PH: (504) 581-4892

FAX: (504) 561-6024

Idavis@hhke.com

